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                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF FLORIDA
                                            PENSACOLA DIVISION

 UNITED STATES OF AMERICA

 -vs-                                                           Case # 3:08cr46-006LAC

 MAXWELL BOONE a/k/a Chops
                                                                USM # 06972-017

                                                                Defendant’s Attorney:
                                                                Elizabeth Amond (Appointed)
                                                                700 South Palafox Street, Suite 210
                                                                Pensacola, Florida 32502
 ___________________________________

                                         JUDGMENT IN A CRIMINAL CASE

 The defendant pled guilty to Counts One and Two of the Indictment on June 2, 2008. Accordingly,
 IT IS ORDERED that the defendant is adjudged guilty of such counts which involve the following
 offenses:

         TITLE/SECTION                            NATURE OF              DATE OFFENSE
            NUM BER                                OFFENSE                CONC LUDED              COUNT

  21 U.S.C . §§ 841(a)(1),             Co nsp iracy to P oss ess with     May 20, 2008              One
  (b)(1)(A)(ii), (b)(1)(A)(vii),       Intent to Distribute Five (5)
  and 846                              Kilograms or More o f a Mixture
                                       and Substance Containing a
                                       Detectable Amount of Cocaine
                                       and One-Thousand (1,000)
                                       Kilograms or More o f a Mixture
                                       and Substance Containing a
                                       Detectable Amount of
                                       Marijuana

  21 U.S.C . § 841(b)(1)(A )(ii)       Posse ssion with In tent to         April 2, 2007            Two
  and (b )(1)(B )(vii)                 Distribute Five (5) Kilograms
                                       or More of a Mixture and
                                       Substance Containing a
                                       Detectable Amount of Cocaine
                                       and One-Hundred (100)
                                       Kilograms or More o f a Mixture
                                       and Substance Containing
                                       Marijuana

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.
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IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.



                                                            Date of Imposition of Sentence:
                                                            August 12, 2008




                                                             s /L.A. Collier
                                                            LACEY A. COLLIER
                                                            SENIOR UNITED STATES DISTRICT JUDGE

                                                            August 14, 2008
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                                                   IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 108 months as to Counts One and Two, with counts to run
concurrently one with the other.

        The defendant is remanded to the custody of the United States Marshal.




                                                        RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 __________________________________
                                                                       UNITED STATES MARSHAL


                                                            By:__________________________________
                                                                        Deputy U.S. Marshal
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                                                 SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of
Five Years as to Counts One and Two, with counts to run concurrently one with the other.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

            The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                                 STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.          The defendant shall not leave the judicial district without the permission of the court or probation officer;

2.          The defendant sh all report to the probation officer and shall subm it a truthful and com plete written report
            within the first five days of each month;

3.          The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of
            the probation officer;

4.          The defendant shall support his or her dependents and meet other family responsibilities;

5.          The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
            schooling, training, or other acceptable reasons;

6.          The defendant shall notify the probation officer at least 10 days prior to any change in residence or
            em ploym ent;

7.          The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
            distribute, or a dm inister any controlled substa nce or an y paraphernalia re late d to any con trolled
            substances, except as prescribed by a physician;

8.          The defendant shall not frequent places where controlled substances are illegally sold, used, distributed,
            or administered;

9.          The defe nda nt shall not as soc iate with any pers ons eng age d in criminal activity and sh all not as soc iate
            with any person convicted of a felony unless gran ted perm ission to do so by the probation officer;

10.         The defendant shall permit a probation officer to visit him or her at any time at hom e or elsewhere and
            shall permit confiscation of any contraban d observe d in plain view of the proba tion officer;
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11.     The defendant shall notify the probation officer within 72 hours of being arrested or q uestio ned by a
        law enforcem ent officer;

12.     The defendant shall not enter into any agreement to act as an informer or a special agent of a law
        enforcement agency without the permission of the court; and

13.     As directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant’s c rim inal rec ord or pe rsonal histo ry or characteristic s and shall perm it the
        probation officer to mak e such notifications and to confirm the defendant’s compliance with such
        notifica tion req uirem ent.

14.     If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
        defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in the
        Crim inal Mone tary Penalties she et of this judg m ent.

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

        The defendant shall also comply with the following additional conditions of supervised
        release:

        The defendant shall participate in a program of drug treatment which may include testing to
        determine if the defendant is using drugs.

        The defendant shall actively seek and/or maintain full time legal employment or enroll in a full
        time educational or vocational program.
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       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.




         Defendant                                                      Date




         U.S. Probation Officer/Designated Witness                      Date
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                                    CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                     Fine                     Restitution

               $200.00                                        $0                          $0




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $200.00 is imposed and is to be paid immediately.

No fine imposed.
No restitution imposed.
